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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

TERESA PATTERSON,                              )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     ) CASE NO.:2:18-cv-611-SRW
                                               )
PUBLIX SUPERMARKETS, et al.,                   )
                                               )
                Defendants.                    )

                                         ORDER

        Upon consideration of the parties’ joint stipulation of dismissal (Doc. 34), which

comports with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is

        ORDERED that the Clerk of Court is directed to close this case and to annotate the

docket to reflect that this matter is DISMISSED WITH PREJUDICE. Costs are taxed as

paid.

        Done, on this the 31st day of July, 2019.

                                                        /s/ Susan Russ Walker
                                                        Susan Russ Walker
                                                        United States Magistrate Judge
